            CASE 0:18-cr-00120-NEB-KMM Document 329 Filed 07/20/20 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MINNESOTA
                                            SENTENCING
UNITED STATES OF AMERICA,                       )             COURT MINUTES - CRIMINAL
                                                )
                               Plaintiff,       )    Case No:             18-cr-120 (1) (NEB/KMM)
                                                )    Date:                July 20, 2020
                  v.                            )    Courthouse:          St. Paul
                                                )    Courtroom:           3A
Dwight Frederick Barnes (1),                    )    Court Reporter:      Erin Drost
                                                )    Time Commenced:      10:30 a.m.
                                                )    Time Concluded:      12:15 p.m.
                                                     Time in Court:       1 hour and 45 minutes
                               Defendant.

Before Nancy E. Brasel, United States District Judge, at Courtroom 3A, St. Paul, Minnesota.
APPEARANCES:

   For Plaintiff:      LeeAnn Bell, Assistant U.S. Attorney
   For Defendant:      Pro Se Party
                       Robert Lengeling, Stand-by Counsel

: Sentencing.
: Objections to PSR reviewed on the record.
: Defendant’s Motion for Release from custody was moved, argued and denied.

IT IS ORDERED:
Defendant is sentenced to:

 Count     Guilty                               BOP                                           SR
  Nos.      Plea
   1rs        X        262 months to be served consecutively to the sentence in            10 years.
                       criminal case USA v. Dwight Frederick Barnes 12-cr-269
                                           (1) (JNE/SER).

: Special conditions of: See J&C for special condition.
   : Special assessment in the amount of $100.00 to be paid.
   : All restricted and sealed documents shall remain under seal or restricted unless otherwise ordered by the
     Court.
   : Defendant is remanded to the custody of the USM.

Date: July 20, 2020                                               s/KW
                                                                Courtroom Deputy to Judge Nancy E. Brasel
